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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GEORGE BURNS,

                                 Plaintiff,
                                                                 20-CV-6649 (CM)
                     -against-
                                                                CIVIL JUDGMENT
WESTCHESTER COUNTY DEPARTMENT
OF SOCIAL SERVICES,

                                 Defendant.

         Pursuant to the order issued October 30, 2020, dismissing the complaint,

         IT IS ORDERED, ADJUDGED, AND DECREED that the complaint is dismissed

without prejudice under the Prison Litigation Reform Act’s “three-strikes” rule. See 28 U.S.C.

§ 1915(g). Plaintiff continues to be barred from filing any civil action under the in forma

pauperis statute while a prisoner unless he is under imminent danger of serious physical injury.

See 28 U.S.C. § 1915(g).

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     October 30, 2020
           New York, New York

                                                           COLLEEN McMAHON
                                                       Chief United States District Judge
